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 1     NOTE CHANGES MADE BY COURT.
                                                                           12/22/2016
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                                                                            CW
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 8                               UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10                                            WESTERN DIVISION
11 CARPENTERS SOUTHWEST                              No. 2:16-cv-08040-MWF-SK
   ADMINISTRATIVE
12 CORPORATION, a California non-                    ORDER RE: EX PARTE
   profit corporation; and BOARD OF                  APPLICATION TO CONTINUE
13 TRUSTEES FOR THE
                                                     HEARING DATE FOR
   CARPENTERS SOUTHWEST                              DEFENDANTS’ MOTION TO
14 TRUSTS,
                                                     DISMISS (DOC # 11, 12)
15                                   Plaintiffs,
                                                     Assigned to Hon. Michael W. Fitzgerald
16 v.
17 HKB, INC., an Arizona corporation,
     doing business as SOUTHWEST
18 INDUSTRIAL RIGGING; HARRY
     KENT BAKER, an individual;
19 SCOTT WILLIAM MILLER, an
     individual; JAMES DOUGLAS
20 WILSON, an individual,
21
                                     Defendants.
22
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24
              The Court has considered Defendant HKB, Inc. dba Southwest Industrial

25
     Rigging, Harry Kent Baker, Scott William Miller, and James Douglas Wilson

26
     (collectively, “Defendants”) Ex Parte Application to Continue Hearing Date for

27
     Defendants’ Motion to Dismiss, and related documents. The ex parte application

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     is GRANTED IN PART. The deadline to file a reply on the Motion to Dismiss is


     CORE/3008422.0002/130735626.1
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 1 extended to December 29, 2016; the hearing date for the Motion remains
 2 January 9, 2017, at 10:00 a.m.
 3            IT IS SO ORDERED.
 4
     Date: December 22, 2016         By:   ______________________________
 5                                         HON. MICHAEL W. FITZGERALD
 6                                         U.S. DISTRICT JUDGE

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